






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00707-CR







Michael Liedtke, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 52,511, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING







Appellant Michael Liedtke pleaded guilty to aggravated assault.  See Tex. Pen. Code
Ann. § 22.02 (West 1994).  The district court adjudged him guilty and assessed punishment at
imprisonment for six years, as called for in a plea bargain agreement.  

Appellant's general notice of appeal does not confer jurisdiction on this Court.  Tex.
R. App. P. 25.2(b)(3); Whitt v. State, 45 S.W.3d 274, 275 (Tex. App.--Austin 2001, no pet.); see
also Cooper v. State, 45 S.W.3d 77, 79 (Tex. Crim. App. 2001) (rule 25.2(b) limits every appeal in
a plea bargain, felony case).  In addition, the clerk's record contains a written waiver of appeal
signed by appellant and his attorney on the day sentence was imposed in open court.  See Ex parte
Dickey, 543 S.W.2d 99 (Tex. Crim. App. 1976); see also Hurd v. State, 548 S.W.2d 388 (Tex. Crim.
App. 1977); Reed v. State, 516 S.W.2d 680 (Tex. Crim. App. 1974).


The appeal is dismissed.



				                                                                                   

				Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed for Want of Jurisdiction

Filed:   January 10, 2002

Do Not Publish


